
PER CURIAM.
| denied. Relator’s claim concerning the admission of his recorded telephone conversation into evidence is repetitive. La.C.Cr.P. art. 930.4. The non-unanimous jury verdict does not violate due process. See Johnson v. Louisiana, 406 U.S. 356, 92 S.Ct. 1620, 32 L.Ed.2d 152 (1972). As to the remaining claims, relator fails to satisfy. the post-conyiction burden of proof. La.C.Cr.P. art. 930.2. .
Relator has now fully litigated his application for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C.' § 2244, Louisiana post-conviction procedure envisions the filing of - a second or successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 ahd within the limitations period as set out 'in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with La.C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
